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                                    7
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                                    8   Andra Jay As Executor of the Estate of Rita Cutler
                                    9
                                                           UNITED STATES DISTRICT COURT
                                   10                     CENTRAL DISTRICT OF CALIFORNIA
                                   11
                                        ANDRA JAY AS EXECUTOR                    Case No.: CV15-02461 MWF (DTBx)
KAZEROUNI LAW GROUP, APC




                                        OF THE ESTATE OF RITA
 245 F ISCHER A VENUE , U NIT D1




                                   12                                            NOTICE OF SETTLEMENT RE:
                                        CUTLER,
    C OSTA M ESA , CA 92626




                                   13
                                                                                 DEFENDANT EXPERIAN
                                                      Plaintiff,                 INFORMATION TRANS UNION
                                   14
                                                                                 LLC
                                                             v.
                                   15
                                                                                 HON. MICHAEL W. FITZGERALD
                                        NISSAN MOTOR
                                   16   ACCEPTANCE
                                   17
                                        CORPORATION; GC
                                        SERVICES LIMITED
                                   18   PARTNERSHIP; REGIONAL
                                   19   ADJUSTMENT BUREAU, INC.;
                                        EQUIFAX INFORMATION
                                   20   SERVICES, LLC; EXPERIAN
                                   21   INFORMATION SOLUTIONS,
                                        INC.; AND, TRANS UNION,
                                   22   LLC,
                                   23
                                                      Defendants.
                                   24
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                                        NOTICE OF SETTLEMENT RE: DEFENDANT TRANS UNION LLC
                                    Case 5:15-cv-02461-MWF-DTB Document 50 Filed 04/06/16 Page 2 of 2 Page ID #:360



                                    1         NOTICE IS HEREBY GIVEN that the dispute between Plaintiff ANDRA
                                    2   JAY AS EXECUTOR OF THE ESTATE OF RITA CUTLER (“Plaintiff”) and
                                    3   Defendant TRANS UNION (“Trans Union”) only has been resolved in its entirety.
                                    4   The Parties anticipate filing a Joint Motion for Dismissal of Trans Union with
                                    5   Prejudice within 60 days.     Plaintiff requests that all pending dates and filing
                                    6   requirements with regard to Trans Union be vacated and that the Court set a
                                    7   deadline on or after June 6, 2016 for filing a Joint Dismissal.
                                    8         For purposes of clarity, Plaintiff’s claims against Defendants NISSAN
                                    9   MOTOR ACCEPTANCE CORPORATION (“Nissan”) are the only claims that
                                   10   remain active.
                                   11
KAZEROUNI LAW GROUP, APC




                                        Dated: April 6, 2016                                         Respectfully submitted,
 245 F ISCHER A VENUE , U NIT D1




                                   12
    C OSTA M ESA , CA 92626




                                   13                                                       KAZEROUNI LAW GROUP, APC
                                   14
                                                                                       By: ____/s/ Matthew M. Loker___
                                   15                                                           MATTHEW M. LOKER, ESQ.
                                                                                                  ATTORNEY FOR PLAINTIFF
                                   16
                                   17
                                                                 CERTIFICATE OF SERVICE
                                   18
                                              A copy of the foregoing Notice of Settlement re: Trans Union LLC has been
                                   19
                                        filed this 6th day of April, 2016, through the Court’s electronic filing system. All
                                   20
                                        parties may access the foregoing via the Court’s electronic filing system.
                                   21
                                                                                               ___/s/ Matthew M. Loker___
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                                                                                                          Matthew M. Loker
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                                        NOTICE OF SETTLEMENT RE: TRANS UNION                                 PAGE 1 OF 1
